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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


    In re:                                                                 Chapter 11

    PROSPECT MEDICAL HOLDINGS, INC., et al.,1                              Case No. 25-80002 (SGJ)

                             Debtors.                                      (Jointly Administered)

                                                                           Rel. to Dkt. Nos. 1712, 1974, 1994, 1997,
                                                                           2003, 2016, 2018, 2019, 2020, 2021, 2023

             DEBTORS’ STATEMENT WITH RESPECT TO CLAIMS RESOLUTION
                             PROCEDURES MOTION

1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://omniagentsolutions.com/Prospect. The Debtors’ mailing address is 3824
      Hughes Ave., Culver City, CA 90232.
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        Prospect Medical Holdings, Inc. and its debtor affiliates, as debtors and debtors in

possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases, hereby submit

this statement (this “Statement”) with respect to the Debtors' Motion for Entry of an Order

(I) Approving and Authorizing Mandatory Claims Resolution Procedures to Resolve Professional

Liability and General Liability Claims; (II) Requiring the Debtors' Insurers to Satisfy Their

Obligations Under the Applicable Policies; and (III) Granting Related Relief [Docket No. 1712]

(the “Claims Resolution Procedures Motion”):

                                                STATEMENT

        1.       Contemporaneously with the filing of this Statement, the Debtors filed a revised

proposed order on the Claims Resolution Procedures Motion [Docket No. 2025-1] (the “Revised

Proposed Order”). The Revised Proposed Order addresses most of the issues raised in the PL/GL

Claimant Objections,2 and to the extent any objections remain, they should be overruled.

        2.       The Debtors recognize that both the availability of insurance and whether insurers

and reinsurers are obligated to pay liabilities that the Debtors incur in excess of the self-insured

retentions—as long as the SIRs are “allowed” claims against the Debtors—are key to successful

implementation of the Claims Resolution Procedures. However, to accommodate fulsome notice

to insurers and reinsurers and ensure that the Court can address the issues on the merits (rather

than on non-substantive notice grounds), the Debtors are adjourning the portion of the Claims

Resolution Procedures Motion seeking relief against insurers (other than CHIC, RRG, and the

Pennsylvania MCare Fund) to the June 10, 2025 hearing. See Revised Proposed Order ¶ 29.



2
    The “PL/GL Claimant Objections” means (i) the Objection of the Ad Hoc Committee of Medical Malpractice
    Claimants to Debtors' Motion for Entry of an Order (I) Approving and Authorizing Mandatory Claims Resolution
    Procedures to Resolve Professional Liability and General Liability Claims; (II) Requiring the Debtors' Insurers
    to Satisfy Their Obligations Under the Applicable Policies; and (III) Granting Related Relief [Docket No. 2018],
    and similar objections or reservations of rights filed by PL/GL Claimants [Docket Nos. 1974, 2019, 2020, 2021].



                                                         2
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       3.      The hearing on May 21, 2025 will instead be a status conference on these issues.

The Debtors will seek the Court’s guidance on the proper procedural vehicle for raising the

insurance disputes in an expeditious manner.

       4.      Nonetheless, the Debtors believe that the Claims Resolution Procedures benefit the

PL/GL Claimants as a whole by providing a centralized process to resolve and/or liquidate PL/GL

Claims of all PL/GL Claimants, without any individual claimant jumping the line (which would

violate the Bankruptcy Code’s principles of equal treatment for similarly-situated creditors). Thus,

the Debtors are going forward on the balance of the Claims Resolution Procedures Motion.



Dated: May 20, 2025
Dallas, Texas                                     /s/ Thomas R. Califano
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                                     Certificate of Service

       I certify that on May 20, 2025, I caused a copy of the foregoing document to be served by

the Electronic Case Filing System for the United States Bankruptcy Court for the Northern District

of Texas.


                                                                /s/ Thomas R. Califano
                                                                Thomas R. Califano
